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Exhibit A
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Officer: Monica Araujo
Assessment Date: May 1, 2025

U.S. Citizenship
|.) and Immigration
Services

USCIS Affirmative Asylum Checklist Assessment — Indicative Asylum Decision

Indicative Asylum Decision
Mandatory Bar to aGrant of Asylum and
Discretionary Denial
Supervisor: Anthony Negrut A.N.

BIOGRAPHIC INFORMATION

Age Country of Birtn Citizership(s)
20 Venezuela Venezuela
Port of Entry Date of Entry Status at Entry
aa La ew
Current Status Status Fxpiration Asylum Application Filing Date
2022-12-20

BARS TO APPLYING FOR ASYLUM

ls the applicant eligible to apply for asylum?
No (not physically presently in the United States): indicative decision below is based on
evidence in the record if we were to obtaim jurisdiction ofthe case and adjudicate

ONE-YEAR FILING DEADLINE

One-Year Filing Deadline: Did the applicant establish by clear and convincing evidence that the
application was filed within one year after the applicant’s date of last arrival in the United States?
NA

Application filed by:

Unaccompanied Child (UC), as defined at 6 U.S.C. § 279(g)(2)

PRIOR DENIAL OF ASYLUM BY EXECUTIVE OFFICE FOR IMMIGRATION REVIEW (EOIR)
Prior Denial of Asylum by FOIR: Is there evidence of a prior asylum denial by FOIR?
No

MANDATORY BARS

Does the evidence indicate that a mandatory bar to asylum applies to the applicant?
Yes

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Terrorism-Related Inadmissibility Grounds (TRIG)
Evidence indicates the applicant would be subject to TRIG ar
who is amember of a designated t
was de

1d inadmissible under INA 212(a}(3)(B)(i)(\V/) as ¢

ization, namely, Tren de Aragua (TdA). On February 20, 2025, TdA

signated by the Secreta wor State n accordance with section 219 of the

INA sual oreign Terrorst Organization (FTO). See “Foreign Terrorist Organization Designations o° Tren de Aragua,
Mara Salvatrucha, Cartel de Sinaloa, Cartel de Jalisco Nueva Generacion, Carteles Unidos, Cartel de. Noreste, Cartel
de occas La Nueva Familia Michoacana,” A Notice by the State Department on 02/20/2025, 2025-02873 (90 |
10030), available at:

mmigration and Natior iality Act

bject to TRIG as a member of a designates te

ignatec

ed evidence, the applicant wot
rorist organization and inadmissible under INA 212/a)(3)(B)(i)(V), for

d therefore be barred from asyium under INA 208(b)(2)(A)

ch no exemption 's availabe. The applicant wou
in alien subject to TRIG.

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Ji aS

RIG Exemption Outcome
Exemption Not Available

DISCRETION

Should USCIS exercise discretion to grant asylum?
No

r
C

xplanaton:

* Evidence reveals grave negative factors that would weigh against a favorable exercise of d'scretion in th’scase.

State as an FTO, as described above. The President has i ind a andc clared TdAto to

attempting, and threatening an invasion or predatory inc
States.” Pres eta Proclamation 10903

United States by Trende Aragua, March 14, 2025, 2025-04865 (90 FR 130

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sion spi st the te erritory ol f the Unitec

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_Invocat _—n eAlien Enemies Act Reg

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J ngt he Invasion of the

033), available at:

+ Tec-states-by-tren-cdle-aragua “Reports further note from its origins
Venezuele a, Td) A ‘hace xpan rded intoC “olombia, Ecuador, Peru and Chile and diversified from exto

9 rtingn migrants

nto sex-trafficking, contract killing and kidnapping,” Lisa Lambert, “Whatis Tren de Aragua, the Venezuelan
gang targeted by Trumo?,” BBC News, March 17, 2025, available at:
AChilean prosecutor described the Reon ee “brutal

organization” thai uses murder and torture to achieve its aims.” ld. Considering the nature

and targets of TdA
these factors would ae sO

<NOWN activities

eavily against any favorable exercise of discretion in this case that the,

would be impossible to
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whether the app

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definition, the severit

onsidering even if he met the refugee
ors would stil! weigh aga’nst an exercise of discretion to gra
DETERMINA

rid IL do)

he application for asylum would be DENIED because there
to asylum would apply to tne applicant and USCIS w
A Sy um

Us vould not exercise

§ evidence indicating that a mandatory bar

cretion to grant
